                                      Case 2:15-cv-06864-CDJ Document 1 Filed 12/31/15 Page 1 of 8


JS44(Rev.ll/15)

The JS 44 civil cover sheet and th
provided by local rules ofcourt
                                          CAL
                                         o , p
                                                                              CIVILCOVERSHEET                                                                       /$.{}J.(p~tJf
                                                       · ed herein neither replace nor supplement the filing and service of pleadings or other papers as~ uired by law.I ex¢ept as
                                                     ed by the Judicial Conference of the United States in September 1974, is required for the use ofthe~lerkofCourtlfor the
                                                                                                                                                                                                                                .•
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF mrs FORM)                                                                               : I
                                                                                                                                                                                                                                                     I

I. (a) PLAINTIFFS                                                                                                                     DEFENDANTS
                                                                                                                                    The Vanguard Group, Inc.
    David Danon, Esquire
                                                                                                                                                                                                                   I
     (b) County of Residence ofFirst Listed Plaintiff                  _C_h_e_s_t_e~r,~P_A_._____                                     County of Residence of First Listed Defendant                   Montgomery, PA
                                 (EXCEPT JN U.S. PLAINTIFF CASES)                                                                                             (IN U.S. PLAIN1'1FF CASES ONLY)     'i


                                                                                                                                      NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF I.
                                                                                                                                                  THE TRACT OF LAND INVOLVED.                                                   I
     ( c) Attorneys (Firm Name, Address, and Telephone Numbetj                                                                         Attorneys (!/Known)                                                                      .
         James L Griffith, Esquire, LLC
         920 Lenmar Drive
          Blue Bell, PA 19422
                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                T
II. BASIS OF JURI~ON (Place an"}{" inOneBa~Only)                                                                    Ill. CITIZENSHIP OF PRINCIPAL p ARTIES (Place an ·x- in One !foxfor Plainl!ff
                                                                                                                                 (For Diversity Cases Only)                                            and One Box for Defendhnl)
0 I       U.S. Government      ~                  Federal Question                                                                                        PTF           DEF                                           PTF DEF                                I
            Plaintiff                               (US. Govemment Not a Party)                                             Citizen of This State         0 1           0 1       Incorporated or Principal Place      0 I4    0 4
                                                                                                                                                                                    of Business In This State                       1




0 2       U.S. Government                 0 4     Diversity                                                                 Citizen of Another State          0 2       0    2    Incorporated nnd Principal Place          0 1, 5 I 0 5
            Defendant                               {h1dicale Cilizenship ofParties in I/em lll)                                                                                     ofBusiness In Another State                    1




                                                                                                                            Citizen or Subject of a           0 3       0    3    Foreign Nation                            a 16                             Io 6
                                                                                                                              Foreillll. Counttv                                                                                        I

IV. NATURE OF SUIT (Place an "X" in One Box Only)
, - - . - .CONTRAC'J> ·               h   ,.         . ~· ·:· ::r0R: 1 -~··       ··- , , • .,, :.· :.   •••·•••     • ·:   "'.•.FORFEITVRE'IPENA'L'RY.'•. ._,.... ···" ·•Bl\NKRUPTCF'.f:F.:·;. '•- .. ~b'rlfi:R:·Sl'cAlllJ'fESF" ' I
0    110 Insurance                         PERSONAL INJURY                 PERSONAL INJURY                                  0 625 Drug Related Seizure              0 422 Appeal 28 USC 158             0 375 False Claims~ct                                j
0    120 Marine                       0    310 Airplane                  0 365 Personal lnjwy -                                   ofProperty 21 USC 881             0 423 Withdrawal                    0 376 Qui Tam (31 US1
0    130 Miller Act                   0    315 Airplane Product                 Product Liability                           0 690 Other                                    28 use 157                            3729{a))               I
0    l 40 Negotiable Instnunent                 Liability                0 367 Health Care/                                                                              .                              0 400 State Reappo?io          ent
0    150 Recovery of Overpayment      0    320 Assault. Libel &                Phannaceulical                                                                         PRORERc'EYiRlGHT;S'::;            a   410 Antitrust      I     I
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          & Enforcement of Judgment
     151 Medicare Act
     152 Recovery of Defaulted
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                                                Liability
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          (Excludes Veterans)
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          ofVeterao'sBenefits
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                                                                                                                                                                          0 863 DIWC/DIWW (405(g)) ~50 Securilies/Con'uno!'lies/
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0    160 Stockholders' Suits          0    355 Motor Vehicle             0 371 Truth in Lending                              0 720 LaborfManagement
0    190 Other Contract                        Product Liability         a 380 Other Personal                                             Relations                       0 864 SSID Title XVI         ('       Exchange         I
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     195 Contract Product Liability
     196 Franchise
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                                           360 Other Personal
                                               lnjwy
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                                                                         0 385 Property Damage
                                                                               Product Liability
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                                               Medical Malpractice                                                          0 790 Other Labor Litigation                                                  O 895 Freedom oflni;,1U1ktion
r         ·REAL~ROP.ER'fY::.       :Jc-· ···CIVJBRJGHTS:'·:·· · .IJ>JUs0NERIBE'BnONS: ~                                     0 791 Employee Retirement                      : 0 ::FEDERA:L'filSUITS.?-:';;       Act               I±
0 210 Land Condemnation                                                                                                                 Income Security Act              0 870 Taxes (U.S. Plaintiff    a   896 Arbitration                      I
0 220 Foreclosure                                                                                                                                                                  or Defendant)          0 899 Administrative           ure
0 230 Rent Lease & Ejectment          0 442 Employment                   0 510 Motions to Vacate                                                                          0 871 IRS-Third Party                 ActlReview or Ill.pp      of
0 240 Torts to Land                   0 443 Housing/                            Sentence                                                                                           26 use 7609                  Agency Decisi~n                                      I
0 245 Tort Product Liability                Accommodations               0 530 General                                                                                                                    0 950 ConstitulionaliJ.y of
0 290 All Other Real Property         0 445 Amer. w/Disabililies -       0 535 Death Penalty                                · '· ,. :;c:. IMMIGRA'UlON ·                                                        State Statutes I
                                            Employment                       Other:                                         0 462 Naturali7.Blion Application                                                                      ·
                                      O 446 Amer. w!Disabililies -       0 540 Mandamus & Other                             0 465 Other Immigration
                                            Other                        0 550 Civil Righls                                             Actions
                                      0 448 Education                    0 555 Prison Condition
                                                                         O 560 Civil Detainee -                                                                                                                                                  I
                                                                               Conditions of
                                                                               Confinement                                                                                                                                                       I

          RIGIN (Place an ''.X" in One Box Only)
@           riginal
           roceeding
                            0 2 Removed from
                                State Court
                                                              0    3    Remanded from
                                                                        Appellate Court
                                                                                                                   0 4 Reinstated or
                                                                                                                            Reopened
                                                                                                                                                0 5 Transferred from
                                                                                                                                                        Another District
                                                                                                                                                        (specify)
                                                                                                                                                                                 0 6 Multidistrict
                                                                                                                                                                                         Litigation
                                                                                                                                                                                                                                                 I

                                               li~e6ths-¥ir 94~ Statute :fidUsE~f~~ are filing (Do not cite jurisdictional statutes unless diversity):
VI
          CAUSE OF ACTION                  'Briefdi;scrjptinon offwc't:f;tle-blower
      •                                      Termmat10 0                                                                                                                                                     r\
VII. REQUESTED IN     0                            CHECK IF THIS IS A CLASS ACTIC»J.                                              DEMAND$                                     CHECK YES only if de~andt:dTn co~pl~int:
     COMPLAINT:                                    UNDER RULE 23, F.RCv.P.      f'                                   ~ ,, 1/11fi?.~ Al1l"J
                                                                                                                            ,,.                                               JURY DEMAND:                  IM ye/,         0       N4
VIII. RELATED CASE(S)
      IF ANY                                     (See inslntctions):
                                                                         JUDGE                                                                                        DOCKET NUMBER
                                                                                                                                                                                                            u                                        I



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                                (~~
DATE                                                                    "])_SIGNATURE OF ATTORNEY OF RECORD
12/31/2015                                                                   ~                                      ,"/LC!, /~.~1
FOR OFFICE USE ONLY           /!  ...,,
                                                                       '-"'77
     RECEIPT#               -bi'AMOUNT                                          APPL YING 1FP                                                         JUDGE                               MAG.JUDGE                                                      I

                                                                                                                                                 DEC 3 1 2015
                              Case 2:15-cv-06864-CDJ Document 1 Filed 12/31/15 Page 2 of 8

JS 44 Reverse (Rev. 11/15)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM .JS 44                                                                                                I,

                                                                                                                                                                                        I

                                                                Authority For Civil Cover Sheet                                                                                         i
                                                                                                                                                          1



The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papej's '
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 197!4, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the ~lerl< of
Court for each civil complaint filed. The attorney :filing a case should complete the form as follows:                                                    1


                                                                                                                                                              1


                                                                                                                                                              I

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agedcy~ use
         only the full name or standard abbreviations. Jfthe plaintiff or defendant is an official within a government agency, identify first the agendy ahd
         then the official, giving both name and title.                                                                                                 \
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiffresi~es\at the
                                                                                                                                                          ¥1
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)                                 i
  ( c)   Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. If there are several attorneys, list them on an attachmf!nt,
         in this section "(see attachment)".                                                                                                            ·.

II.      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. PlaJe ah "X"
         in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.                                       1

                                                                                                                                                                  •




         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 13!45 and 1348. Suits by agencies and officers of the United States are included\hel!e.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.                  I

         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an am~ndment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code tilk:es
         precedence, and box I or 2 should be marked.
         Diversity of citizenship. (!4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checkedf the
                                                                                                                                                                      '1                      l


                                                                                                                                                                                              t
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversityl
         cases.)                                                                                                                                            i



m.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above.              ~ar                             this
         section for each principal party.                                                                                                                                 ,
                                                                                                                                                                           I

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI      J10 ,is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits m~re                                       an
         one nature of suit, select the most definitive.

v.       Origin. Place an "X" in one of the six boxes.
         Original Proceedings. (I) Cases which originate in the United States district courts.                                                       ,
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 144'1.
         When the petition for removal is granted, check this box.                                                                                                             '1




         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as thb fi~g
         ~-                                                                                                                                                                         I

         Reinstated or Reopened. (4)_ C~eck this box for cases reinstated or r~opened in the disti:ict court. Use the reope~g date ::18 ~e ~l~g date. \
         Transferred from Another District (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for w1thm district transfers or
         multidistrict litigation transfers.                                                                                                               '\                                     I
         Multidislrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 14©7.
         When this box is checked, do not check (5) above.                                                                                                  ' \

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdiJtional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service                    '

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

vm.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the dockJt
         numbers and the corresponding judge names for such cases.                                                                                        !


                                                                                                                                                                                         !I

Date and Attorney Signature. Date and sign the civil cover sheet.
                               Case 2:15-cv-06864-CDJ Document 1 Filed 12/31/15 Page 3 of 8

                                       I                                                                                                     t5                  6 8 ·~ 4
 FOR THE EAC         CD            I
                                   ~CT
                                  OF PENNSYLVANIA -
 assignment to appropriate calendar.
                                                                   UNITED STATES DISTRICT COURT
                                                                         DESIGNATION FORM to be used by counsel to indicate the category of the case for the purJ>ose of
                                                                                                                                                                 '

 Address of Plaintiff:        /£/f J<ALte/",\41~                        ~ ~/' IA /ttPJ?
 Address of        Defendant:/,~. /(l/V/!JfAll.{)                     Ql,J,/) A ALP4'.(R l'A /?'. ~~
                                                                                  1


 Place of Accident, Incident or T r a n s a c t i o n : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - + - - - -
                                                              (Use Reverse Side For Additional Space)

 Does this civil action involve a t)ongovernmental corporate party with any parent corporation and any publicly held corporaf
     (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1 (a))

 Does this case involve multidistrict litigation possibilities?
 RELATED CASE, IF ANY:
Case Number:                                             Judge                                               Date Terminated:   ------------------+----
Civil cases are deemed related when yes is answered to any of the following questions:

 1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD       NJ(.
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                                YesD      N<J\
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
         terminated action in this court?                                                                                              YesD       Nc;t(


4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                       YesD        NJ
CIVIL: (Place         t/ in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                                     B. Diversity Jurisdiction Cases:
    1.    D    Indemnity Contract, Marine Contract, and All Other Contracts                                    I. o Insurance Contract and Other Contracts
 2.       D    FELA                                                                                            2. o Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                                3. o Assault, Defamation
 4. o Antitrust                                                                                                4.   D Marine Personal Injury

 5. o Patent                                                                                                   5.   D Motor Vehicle Personal Injury

 6. o Labor-Management Relations                                                                               6. o Other Personal Injury (Please specify)
 7.       D    Civil Rights                                                                                    7. o Products Liability



 t3
                  beas Corpus                                                                                  8.   D Products Liability -        Asbestos
                   urities Act(s) Cases                                                                        9. o All other Diversity Cases
I                 cial Security Review Cases                                                                           (Please specify)
11. o All other Federal Question Cases
               (Please s p e c i f y ) - - - - - - - - - - - - - - - - - -

                                                                       ARBITRATION CERTIFICATION

~                     l.&IWS      <I,I lft 1K                                   (Check Appropriate Category)
                                                                    , counsel of record do hereby certify:                                                                ,
              'ursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed th~ suln of
               ?.OO exclusive of interest and costs;
                elief other than monetary damages is somzht.

DATE:          1a -a,_ 1>1£                                                                                                               J'LC/t3_J_
                                                                                                                                            Attorney I.D.#
                                                       A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court


                     _,I
except as noted above.

DATE:          /:J            •Jt/I/(['              u a_~~ .. DEC                                              3 1 2015.:1-:~ t lt.1.J
CIV. 609 (5/2012)
              Case 2:15-cv-06864-CDJ Document 1 Filed 12/31/15 Page 4 of 8


                               IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM

                                                                              CIVIL ACTION
                                                                                            I

                             v.
                                                                        15 NO. t>864
  In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
  plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time qf
  filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the rever~e
  side of this form.) In the event that a defendant does not agree with the plaintiff regarding saild
  designation, that defendant shall, with its first appearance, submit to the clerk of court and serve op
  the plaintiff and all other parties, a Case Management Track Designation Form specifying the trac!k
  to which that defendant believes the case should be assigned.

  SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

  (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )
  (b) Social Security - Cases requesting review of a decision of the Secretary of Health
      and Human Services denying plaintiff Social Security Benefits.                                 ( )
  (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.     ( )
  (d) Asbestos - Cases involving claims for personal injury or property damage from
      exposure to asbestos.                                                                          ( )
  (e) Special Management- Cases that do not fall into tracks (a) through (d) that are
      commonly referred to as complex and that need special or intense management by


                                                                                                    a
      the court. (See reverse side of this form for a detailed explanation of special
      management cases.)


                                                                                                    ~
  (f) Standard Management- Cases that do not fall into any one of the other tracks.


 ;;;. --1'/-d!?l.5--              JA;i~.s /.~"'''£ 611~(.r                   ft.Avn;ff=
  Date                               Attorney-at-law                      Attorney for

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  Telephone                          FAX Number                           E-Mail Address


  (Civ. 660) 10/02




                                         DEC 31 2015                                            '
            Case 2:15-cv-06864-CDJ Document 1 Filed 12/31/15 Page 5 of 8



        ~~()6
                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DavidDanon
1294 Karen Lane
Wayne, PA 19087,                                        CIVIL ACTION - LAW
                                      Plaintiff,
                                                        NO.
               v.

VANGUARD GROUP, INC.
100 Vanguard Boulevard
                                                                        15           686ti
Malvern, PA 19355
                                      Defendant.
                                                                                                    f°;; ~··J­
                                                                                        rp 11JJ:"'~.,__,11,
                                         COMPLAINT
                                                                                      nEc s1               .""
                                                                                                             )




       I.      PARTIES

       1)      The plaintiff herein is David Danon, Esq. an individual who resides at 1294 Karen

Lane, Wayne, PA. 19087.

       2)      The defendant Vanguard Group Inc. (hereinafter referred to as Vanguard) is a

Pennsylvania corporation with its principal office located at 100 Vanguard Blvd., Malvern PA

19355. Vanguard also maintains corporate offices in Valley Forge, PA.

       3)      Vanguard is engaged in the business of providing investment services and the

operation and management of publicly traded mutual funds; exchange traded funds, and other

financial services on behalf of individuals and corporate investors, retirement and pension plans.


       4)      Vanguard is subject to the laws of the federal and state governments as to its

corporate actions particularly as to the laws and regulations governing securities transactions and

the taxation of income derived from such activities and transactions.
              Case 2:15-cv-06864-CDJ Document 1 Filed 12/31/15 Page 6 of 8




       II.     STATEMENT OF JUSRISDICTION


       5)      This action is brought under the laws of the United States including but not

limited to the Sarbanes Oxley Act of 2002 (PUB. LAW 107-204) and the Dodd-Frank Wall

Street Reform and Consumer Protection Act, (124 STAT 1376-2203).


       III.    A JURY TRIAL IS DEMANDED


       IV.     NATURE OF CLAIM


       6)      Prior to January 3, 2013, David Danon, Esq. was an attorney with expertise in the

tax laws of the United States and was employed by the defendant Vanguard.


       7)      Beginning in2010 and continuing through the course of his employment, the

plaintiff advised various senior corporate employees and members of the defendant's tax

department that in his opinion Vanguard was engaged in illegal tax and corporate practices in

violation of the laws of the United States.

       8)      The plaintiff was advised on several occasions to cease and desist in his attempts

to notify the defendant and was instructed to never put his opinions in writing. The defendant

prevented plaintiff's efforts to bring about compliance with the law.

       9)      In and about 2011 -2012 the plaintiff was directed to perform duties which he

considered to be in violation of the law and he declined to do so.

       10)     On about January 3 -4, 2013 plaintiff was terminated and advised that he should

find other employment and was given a short time period to do so.




                                                 2
              Case 2:15-cv-06864-CDJ Document 1 Filed 12/31/15 Page 7 of 8




        11)    Plaintiff's employment was wrongly terminated in retaliation for his disregard of

the improper instructions to conceal his opinions and warnings of wrongdoing by Vanguard.

        12)    Plaintiff had an obligation to notify Vanguard of his opinions and warnings and to

take affirmative action to disclose the violations of the law. At all times relevant hereto plaintiff

was engaged in protected action.

        13)    Plaintiff is a whistleblower protected from retaliation by various federal and state

laws including but not limited to the Sarbanes Oxley Act and the Dodd Frank legislation.

        14)    At the time of his wrongful and retaliatory termination plaintiff was 52 years of

age.

        15)    The plaintiff was earning approximately $250,000 per year in compensation and

fringe benefits and has lost and will continue to lose substantial wages and has sustained other

monetary and non-monetary damages.


        16)    Despite his best efforts he has been unable to find employment as a tax lawyer

and his loss of income continues and will continue into the future.


        17)    In addition to his monetary losses plaintiff has been caused to suffer headaches,

anxiety, embarrassment and emotional distress for which he has incurred medical expenses and

will continue to do so in the future.


       V.       PUNITIVE DAMAGES


        18)    The conduct of the defendant was an intentional retaliatory termination in an

effort to conceal its wrong doing.



                                                  3
               Case 2:15-cv-06864-CDJ Document 1 Filed 12/31/15 Page 8 of 8




        19)     Vanguard caused plaintiff to lose employment, suffer embarrassment, depression

and humiliation in order to punish him for his attempts to expose to the defendant and to others

the violations of the law.


       20)      The plaintiff demands punitive damages and such other relief as the court deems

appropriate.


   WHEREFORE Plaintiff asked the court to award damages and such amount as may be

determined by a jury.


                                             Respectfully submitted,

                                             JAMES L. GRIFFITH, ESQUIRE LLC




                                                    James L.-Griffilh, E~quire JLG 1633
                                                    920 Lenmar Drive
                                                    Blue Bell, PA 19422-3001
                                                    (484) 868-9700

Dated: December 31, 2015




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